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In the Matter Of:
DOUGLAS J. GOSSER
-VS-

HENRY COUNTY SHERIFF'S DEPARTMENT, ET AL.

BRENT GRIDER, VOL. I
July 11, 2018

  
 

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1 A No.
2 Q Still looking at the diagram, who is the --
3 strike that.
4 When an inmate comes in, they go through
5 intake; correct?
6 A Yes.
7 Qo And there is a determination made as to where
8 they are going to be placed; correct?
9 A Uh-huh.
10 Q How is that determination made?
11 A After they are booked in and they have got their
12 medical clearance, depending on the charge, I
13 mean, if they are -- obviously, if it is an
14 alcohol offense where they are intoxicated, they
15 are placed in the detox drunk tank for them to
16 detox.
17 Once that they are deemed sober, then based
18 on their classification and based on the
19 population of the jail, they're placed with like
20 inmates in a cellblock.
21 oO And when you say "like inmates," what does that
22 mean?
23 A Like charges. I mean, like, you know, you have
24 -your misdemeanor batteries or misdemeanor public
25 intoxications or misdemeanor drug offenses, I
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1 would put them in there, unless they have a
2 sexual predator charge or something like that,
3 then they would be separated.
4 QO What is your understanding of why Brian Gosser
5 was in that jail in 2016?
6 A I believe he was arrested for an alcohol
7 | offense.
8 Q DUI?
9 A I believe that's what it was, yes, sir.
19 Q And is there any specific cellblock where any
il other inmate or pretrial detainee comes in with
12 a DUI charge, where would they be placed?
13 A Again, B block would be an option. At that
14 point in time, to the best of my knowledge, just
15 about any of those blocks other than what I
16 call, refer to the short hallway of G, H, and I
17 and the female blocks, that would be -- they
18 would all be a place that he could have been
19 placed in.
20 Q Did you have any role as far as determining
21 which cellblock Brian was placed in?
22 A Not at the initial, no.
23 Qo And in terms of G, H, and I, are those
24 considered cells?
25 A They are cells. Gis a two-man cell. H block
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1 Q Do you recall Brian Gosser stating, I mean, I

20 got ten broken bones in my body, I think they

3 need to pay for it, do you recall that?

4 A I remember something along that line, yes, sir.
5 Q And you didn't talk just about the incident that
6 happened in F block during that conversation;

7 correct?

8 A Correct.

9 Q There was an incident that happened in B block?
10 A Yes, sir.
11 Q With that Chip guy?
12 A Yes, sir.
13 Q Who is Charles Peck; right?

14 A Yes, sir.

15 Q And so you talked about both of those incidents,
16 and what did Brian tell you?

17 A The B block incident, he told me that he was

18 smacked in the face by a guy named Chip, because
19 he had got ahold of his paperwork, and he had

20 read that he had an 11-year-old in his car when
21 he was arrested, and that he assumed that, Chip
22 assumed that he was doing something with an

23 1li-year-old but said that it was all good, you
24 know, he was -- he didn't want to press charges,
25 it was all fine.

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1 reason for them to be either moved up or down in
2 a classification or stay the same.
3 Q Did you ever give any consideration to changing
4 the classification system or the intake process
5 to include discussions about whether certain
6 inmates or detainees may have law enforcement
7 relations?
8 A No, sir, I didn't.
9 Q And you didn't have specific isolation cells at
10 the jail, did you?
11 A The only truly single cell is our padded cell,
12 so yes.
13 Q Even the drunk tank you put more than one;
14 right?
15 A Yes, sir.
16 Q And as far as inmate or inmates or detainees
17 placed in administrative segregation, to the
18 best of your understanding, is that based on
19 protection of the inmate or detainee?
20 A Yes, sir.
21 Q Is it based on protection of officers?
22 A It could be both, yes, sir.
23 Q Now, the detainees at the jail, inmates at the
24 jail, they can make phone calls and receive
25 phone calls; right?
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1 safest?

2 A There was two gentlemen in there that were no

3 threat to anybody at any time, and that was my
4 determination, that would be the safest place
5 for him.

6 Q And at the time that you put him in G block, was
7 that before he had gone to the hospital, do you
8 know?

9 A I believe it was after.

10 Q After. So he was never in G block before he had
11 gone to Henry County Hospital?

12 A To the best of my knowledge, but I can't say

13 that for sure.

14 Q And in terms of when he was placed in G block,

15 you said it was after he came back from the
16 hospital, were you aware of what injuries he
17 actually had when you made that decision?

18 A I do not believe so,

19 Q Had you been provided with any information from

20 the hospital as far as discharge reports or any
21 discussions with QoCC staff about the injuries he
22 had when he came back to the jail?

23 A I had not talked to medical staff at that point
24 in time.

25 Q Okay.

 

 

 

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1 Do you recall speaking specificaily to

2 Officer Blake about the injuries Brian had?

3 A I remember some conversation, but I don't

4 remember exactly what it was.

5 Q And you don't recall when it took place?

6 A I do not.

7 Q Why did you ask to speak to Brian on

8 February 29th?

9 A I believe after talking with staff and I believe
10 reviewing a couple reports or something along

11 that line, I am not sure the specifics, I wanted
12 him to be brought up to my office so I could

13 talk to him and see what was going on. Because
14 at that point in time he had been in an

15 altercation in B block and then he had been in
16 an altercation back in F block, and he didn't

17 want -- talking to staff, he didn't want to talk
18 or to tell what was going on. And I had spoke
19 with Doug at one point in time. And I told him
20 I was going to do the best I could to keep him
21 safe, so I wanted to see what was going on. And
22 I called Brian out to get his version to see

23 what I could do to help him and if we were going
24 to press charges or what we were going to do.

25 Q It was more than just being involved in

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205 August 07, 2018
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i the report; correct?
2 A Yes, sir.
3 QO Let me ask you this, as far as the jail's
4 policies, as far as what you're aware of and
5 based on your experience as jail commander, was
6 fighting a rule violation at the jail?
7 A Yes, sir.
8 Q Horseplay of any nature, is that a rule
9 violation?
10 A It could be a rule violation, but there was
11 always horseplay of some nature, yes, sir.
12 Q Let's go to the next page, it is an incident
13 form -- or a jail log dated February 28th,
14 8:06 a.m. from Mr. Blake?
15 A Yes, sir.
16 Q And Mr. Blake was the individual who transported
17 Brian to the hospital on February 27th; correct?
18 A Yes, sir.
19 Q pid you review this particular report from
20 Officer Blake relative to his dealings with
21 Mr. Gosser prior to compiling your report and
22 providing it to the detectives?
23 A Not to my knowledge, I don't recall, sir.
24 Q Let's go to the next page. It is a jail log
25 dated February 28th, 2016, from -- is it Miss or
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